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                                                                                    United States Bankruptcy Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                      IN THE UNITED STATED BANKRUPTCY COURT                             February 02, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                      HOUSTON

IN RE:                                           §
                                                 §       CASE NO: 22-33581
JOYCARE THERAPY, LLC,                            §
                                                 §
         Debtor.                                 §
                                                 §
                                                 §       CHAPTER 11

                                             ORDER

         On January 31, 2023, this Court held a hearing to consider confirmation of Debtor Joycare
Therapy, LLC’s chapter 11 Subchapter V Plan. Nevertheless, the United States Trustee questioned
the validity of Debtor’s corporate authorization1 to file the instant chapter 11 proceeding. After
taking evidence, Debtor’s corporate representatives Cottichia Burke and Huan Le recanted their
earlier testimony that the signatures on the corporate authorization were valid which also called
into question the veracity of their declarations.2 The Court offered the Debtor two choices: (1)
either dismissal of the case; or (2) a thorough evidentiary hearing regarding the validity of the
corporate authorizations and related declarations.3 Debtor chose dismissal of the case.
Accordingly, it is therefore:

ORDERED: that

1. This Chapter 11 case is DISMISSED.

2. No later than February 15, 2023:

    a. Debtor must file with the Clerk of the United States Bankruptcy Court operating reports
       and statements of disbursements made during each calendar quarter during the period from
       December 2, 2022, through the date of entry of this Order, and shall serve a true and correct
       copy of said operating reports and statements on the United States Trustee;
    b. All professionals may file with the Court an application for professional fees under 11
       U.S.C. § 330;
    c. Debtor must pay all outstanding professional fees due to the Subchapter V Trustee.

3. Notwithstanding this Order, the Court retains jurisdiction to consider professional fee
   applications and to enforce payment of fees assessed under 28 U.S.C. § 586(e)(5).




1
  ECF No. 70.
2
  See ECF Nos. 84 and 85.
3
  ECF No. 70, 84 and 85.
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SIGNED February 2, 2023



                                    ________________________________
                                           Eduardo V. Rodriguez
                                                Chief Judge
                                       United States Bankruptcy Court
